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 UNITED STATES BANKRUPTCY COURT
 SOUTHERN DISTRICT OF NEW YORK
 In re:                                            Chapter 7

 CASHPOINT NETWORK SERVICES INC.,                  Case No. 04-12771 (MKV)

                         Debtor.                   STATEMENT OF
                                                   SMALL DIVIDENDS


           Creditor                                            Amount
 Claim No. Name and Address                                    Allowed       Dividend
 1         JOHN MACEDO                                             $49.32          $0.09
           8 PAUL DRIVE
           WESTPORT, MA 02790
 4         GILBERTA NOVERSA                                        $41.35         $0.08
           200 BLOSSOM ROAD
           WEST PORT, MA 02740
 5         MRS. MARIA TORRES                                       $68.39         $0.12
           102 LAWELEY STREET FL.2
           FALL RIVER, MA 02720
 6         MR. MANUEL TORRES                                       $32.37         $0.06
           102 LAWELEY STREET, FL. 1
           FALL RIVER, MA 02720
 9         LENA RAMSEY                                             $56.72         $0.10
           846 MERIDIAN ST.
           FALL RIVER, MA 02720
 18        NATIONAL FUEL                                          $162.23         $0.30
           1100 STATE STREET, PO BOX 2081
           ERIE, PA 16512
 19        WILLIAM J. KUNEMAN                                     $200.23         $0.37
           226 PITTSBURGH AVENUE
           ERIE, PA 16505
 29        ANN & HOPE, INC.                                       $852.75         $1.57
           1 ANN & HOPE WAY
           CUMBERLAND, RI 02864
 32        COTTONLAND FINANCIAL SERVICES, INC.                    $333.25         $0.62
           PO BOX 596
           NEWELLTON, LA 71357




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 33       SPCP GROUP, LLP ASSNR OF RED & WHITE                   $265.00        $0.49
          EXPRESSMART
          ATTN: BRIAN JARMAIN, 2 GREENWICH
          PLAZA
          GREENWICH, CT 06830
 35       DISCOVER FINANCIAL SERVICES, INC.                    $2,435.62        $4.49
          ATTN: LISA MYERS, PO BOX 3012
          NEW ALBANY, OH 43054
 36       GARDERE VILLAGE SUPERMARKET                            $850.00        $1.56
          ATTN: CINDY MA, 1221 GARDERE LANE,
          STE. FGH
          BATON ROUGE, LA 70820
 37       CLEM'S CREATIONS                                       $846.65        $1.56
          PO BOX 732
          OAK GROVE, LA 71263
 38       ISAIAH CHECK CASHING, INC.                             $285.00        $0.52
          CASWALL A. HART, ESQ.,CASZIE HART,
          P.A.,13899 BISCAYNE BLVD. #314
          MIAMI, FL 33181
 47       LIQUIDITY SOLUTIONS INC.                             $1,787.96        $3.30
          D/b/a Revenue Management, One University Plaza
          Suite 312
          Hackensack, NJ 07601
 49       ELYSE MANCHER                                        $1,897.30        $3.49
          69 MARION AVENUE
          STATEN ISLAND, NY 10304
 50       DENNIS SLUDER                                          $571.20        $1.05
          D.B.A. PET PALACE, 670 HWY 412
          WALNUT RIDGE, AR 72476
 51       RALPH E. LOPRESTI                                      $590.00        $1.08
          100 SAWYER AVENUE
          STATEN ISLAND, NY 10314
 61       NICHOLE MONGEON, GENERAL COUNSEL                     $2,174.20        $4.01
          CONTINENTAL EXPRESS MONEY ORDER
          COMPANY,, 1108 EAST 17TH STREET
          SANTA ANA, CA 92701
 62       SERVICE REX ALL DRUGS                                  $343.35        $0.63
          167 MAIN ST. N.
          MENDENHALL, MS 39114
 65       ASSOCIATED SUPERMARKET                               $1,755.02        $3.24
          BJKM SUPERMARKET CORP., 306 POST AVE.
          WESTBURY, NY 11590

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 74       MONEY CENTERS                                          $151.09        $0.28
          GERALD GOLDMAN, ESQ., COURT PLAZA
          SOUTH, 21 MAIN STREET, SUITE 101, PO
          BOX 647
          HACKENSACK, NJ 07601-0647
 75       MONEY CENTERS                                           $37.91        $0.07
          GERALD GOLDMAN, ESQ., COURT PLAZA
          SOUTH, 21 MAIN STREET, SUITE 101, PO
          BOX 647
          HACKENSACK, NJ 07601-0647
 76       MONEY CENTERS                                           $46.71        $0.08
          GERALD GOLDMAN, ESQ., COURT PLAZA
          SOUTH, 21 MAIN STREET, SUITE 101, PO
          BOX 647
          HACKENSACK, NJ 07601-0647
 77       MONEY CENTERS                                           $76.49        $0.14
          GERALD GOLDMAN, ESQ., COURT PLAZA
          SOUTH, 21 MAIN STREET, SUITE 101, PO
          BOX 647
          HACKENSACK, NJ 07601-0647
 78       MONEY CENTERS                                           $40.56        $0.07
          GERALD GOLDMAN, ESQ., COURT PLAZA
          SOUTH, 21 MAIN STREET, SUITE 101, PO
          BOX 647
          HACKENSACK, NJ 07601-0647
 119      SAMCEIL CHECK CASHING SERVICE, INC.                  $1,103.00        $2.03
          GERALD GOLDMAN, ESQ., COURT PLAZA
          SOUTH, 21 MAIN STREET, SUITE 101, PO
          BOX 647
          HACKENSACK, NJ 07601-0647
 126      MONEY CENTERS GERALD GOLDMAN, ESQ.                      $38.58        $0.07
          EDWARD P. D'ALESSIO, ESQ.,WINNE, BANTA,,
          HETHERINGTON,,BASRALIAN & KAHN,
          P.C.,10
          NEW YORK, NY 10016
 127      J&F MINI MARKET, INC.                                $2,544.54        $4.69
          200 LEHMAN STREET
          LEBANON, PA 17046




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 130      LIQUIDITY SOLUTIONS, INC.                            $1,985.00        $3.66
          D/B/A REVENUE MANAGEMENT,
          TRANSFEREE, ONE UNIVERSITY PLAZA,
          SUITE 312
          HACKENSACK, NJ 07601
 134      SCOTT J. WOLFE                                         $199.25        $0.37
          65 LAFAYETTE STREET
          RANDOLPH, MA 02368
 2        JASON DESOUTO                                          $501.14        $0.92
          51 NORA AVENUE
          SOMERSET, MA 02725
 3        JANICE DESOUTO                                         $337.26        $0.63
          134 STATE RD.
          WEST POINT, MA 02790
 7        ALEXANDER C. PIERCE                                    $150.00        $0.27
          2822 LIBERTY ST.
          ERIE, PA 16508
 13       PATRICIA STEPHENS                                       $69.00        $0.13
          24 B PERKER AVENUE
          WESTFIELD, MA 01085
 14       STEVEN FISHER                                          $120.00        $0.22
          89 BALDWIN STREET
          FALL RIVER, MA 02720
 15       NORBERT MONIZ                                           $79.51        $0.15
          305 CORY STREET, FLOOR 1
          FALL RIVER, MA 02720-2838
 23       PETER A. BORGES                                        $107.31        $0.19
          992 STATE RD
          WESTPORT, MA 02790-2422
 25       MABLE HENDERSON                                        $162.23        $0.30
          2609 EAST AVENUE
          ERIE, PA 16504
 26       SAM MARCOS CHECK CASHING                                $25.73        $0.05
          273 S. RANCHO SANTA FE RD.
          SAM MARCOS, CA 92069
 27       SAM MARCOS CHECK CASHING                             $1,357.21        $2.51
          273 S. RANCHO SANTA FE RD.
          SAM MARCOS, CA 92069
 31       MICKEY GROCERY INC.                                    $328.11        $0.60
          113-07 LIBERTY AVENUE
          RICHMOND HILL, NY 11419


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 39       SAWEJKO COMMUNICATIONS                               $1,628.75        $3.01
          1665 SOUTH MAIN STREET, PO BOX 8
          FALL RIVER, MA 02724-0008
 43       NIAGARA MOHAWK POWER CORP., A                           $41.55        $0.07
          NATIONAL GRID INC.
          HISCOCK & BARCLAY LLP (SUSAN R.
          KATZOFF,, PO BOX 4878,FINANCIAL
          PLAZA,221 S. WARRE
          SYRACUSE, NY 13221-4878
 48       DISCOUNT PAWN AND JEWELRY, CORP.                     $1,755.00        $3.24
          3770 HIGHWAY 80 WEST
          JACKSON, MS 39209
 128U     ALEKSANDAR STANOJEVIC                                $2,275.00        $4.20
          5431 N. EAST RIVER RD., APT. 918
          CHICAGO, IL 60656
 136      JEFF A. WALTERS                                        $400.54        $0.74
          BOX 5383
          PT. ARTHUR, TX 77640
 137      BRAZIL FOR YOU                                         $871.39        $1.61
          646 WASHINGTON STREET
          STOUGHTON, MA 02072
 141      JUDITH M. FERTIL                                       $128.12        $0.23
          66 W. BROAD STREET
          HAVERSTRAW, NY 10927
 146      ANA ORTIZ                                              $280.69        $0.51
          352 SOUTH 5TH STREET
          BROOKLYN, NY 11211
 147      LIQUIDITY SOLUTIONS, INC.                            $2,342.07        $4.32
          D/B/A REVENUE MANAGEMENT, ONE
          UNIVERSITY PLAZA, SUITE 312
          HACKENSACK, NJ 07601
 153      CAREER GROUP INC.                                    $1,296.00        $2.39
          10100 SANTA MONICA BLVD., SUITE 900
          LOS ANGELES, CA 90067
 154      SCATURRO SUPERMARKETS                                $1,105.00        $2.04
          258-01 HILLSIDE AVENUE
          FLORAL PARK, NY 11004
 163      JOSE D. PENA OLIVER                                  $1,047.23        $1.93
          418 W. Oak St.
          Hazelton, PA 18201-5729



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 53       NEW YORK STATE BANKING DEPARTMENT                       $1,846.90         $3.41
          SARA A. KELSEY,DEPUTY SUPERINTENDENT
          &, COUNSEL,1 STATE STREET
          NEW YORK, NY 10004

 TOTAL SMALL DIVIDENDS:                                                         $   73.86
 04-12771-REG
 Dated: New York, New York
        March 22, 2017
                                              /s/ John S. Pereira, Trustee
                                             JOHN S. PEREIRA
                                             Chapter 7 Trustee
                                             641 Lexington Avenue, 13th Floor
                                             New York, New York 10022
                                             (212) 758-5777




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